Case: 2:11-cr-00010-GCS-EPD Doc #: 222 Filed: 12/18/17 Page: 1 of 2 PAGEID #: 2977




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                        CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: December 18, 2017




Mr. Richard W. Nagel
Southern District of Ohio at Columbus
85 Marconi Boulevard
Suite 260 U.S. Courthouse
Columbus, OH 43215-0000

                     Re: Case No. 16-3680, Sean Murphy v. USA
                         Originating Case No. : 2:12-cv-01706 : 2:11-cr-00010-1

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Jill Colyer
                                                 Case Manager
                                                 Direct Dial No. 513-564-7024

cc: Mr. Sean D. Murphy
    Ms. Kimberly Robinson

Enclosure
Case: 2:11-cr-00010-GCS-EPD Doc #: 222 Filed: 12/18/17 Page: 2 of 2 PAGEID #: 2978




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 16-3680
                                           ________________

                                                                      Filed: December 18, 2017

SEAN D. MURPHY

                Petitioner - Appellant

v.

UNITED STATES OF AMERICA

                Respondent - Appellee



                                            MANDATE

     Pursuant to the court's disposition that was filed 10/24/2017 the mandate for this case hereby

issues today.



COSTS: None
